                                                            SO ORDERED.


                                                             Dated: May 7, 2018


  1         Law Offices of
      MICHAEL W. CARMEL, LTD.
  2      80 East Columbus Avenue
       Phoenix, Arizona 85012-2334                          Eddward P. Ballinger Jr., Bankruptcy Judge
  3   Telephone: (602) 264-4965                             _________________________________
      Arizona State Bar No. 007356
  4   Facsimile: (602) 277-0144
      E-mail: Michael@mcarmellaw.com
  5
      Attorney for Debtors
  6
                           IN THE UNITED STATES BANKRUPTCY COURT
  7
                                  FOR THE DISTRICT OF ARIZONA
  8
       In re:                                        Chapter 11 Proceedings
  9
       PARAMOUNT BUILDING SOLUTIONS,                 Case No. 2:17-bk-10867-EPB
 10    LLC,
               Debtor.
 11
       In re:                                        Case No. 2:17-bk-10868-DPC
 12
       CLEANING SOLUTIONS, LLC,
 13
                       Debtor.
 14
       In re:                                        Case No. 2:17-bk-10869-BKM
 15
 16    JMS BUILDING SOLUTIONS, LLC,

 17                    Debtor.

 18                                                  Case No. 2:17-bk-10870-EPB
       In re:                                        (Jointly Administered)
 19
       STARLIGHT BUILDING SOLUTIONS, LLC, ORDER
 20
                       Debtor
 21
 22
                The Court has reviewed the Debtors’ “Motion to Reject (1) Real Property Leases;
 23
      (2) Personal Property Leases; and (3) Other Executory Contracts” (“Motion”). With the
 24
      exception of Nilfisk Advance, no objections to the Motion were filed.
 25
                Accordingly, good cause appearing,
 26
                IT IS HEREBY ORDERED granting the Debtors’ Motion, with the exception of
 27
      Nilfisk Advance.
 28


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  1         The following real property leases, personal property leases, and executory
  2   contracts shall be deemed rejected:
  3
            A.     Real Property Leases
  4
  5         1.     Petar Marovic
                   2045 California Avenue, #101
  6                Corona CA 92881
  7
            2.     The Shaw 1989 Revocable Trust
  8                4741 Pell Dr., #3
                   Sacramento, CA 95838
  9
 10         3.     Cush Realty
                   1576 E. Hammond St.
 11                Bangor, ME 04401
 12
            B.     Personal Property Contracts/Leases
 13
            1.     Celtic Leasing (Provident)
 14                P.O. Box 87618
 15                Chicago, IL 60680
                   Floor Cleaning Equipment
 16                Windsor Equipment Lease #LC3410A01
 17
            2.     Celtic Leasing (Provident)
 18                P.O. Box 87618
                   Chicago, IL 60680
 19                Floor Cleaning Equipment
 20                Windsor Equipment Lease #LC3410A02

 21         3.     Marlin Leasing Corporation
                   300 Fellowship Road
 22
                   Mt. Laurel, NJ 08054
 23                Lease #401-1383056-001
 24
 25         C.     Customer Contracts

 26         1.     AAA Mid-Atlantic
 27                One River Place
                   Wilmington, DE 19801
 28
                                                  2
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  1         2.    CBS Studios
  2               3171 W. Olympic Blvd.
                  Ste. 553
  3               Los Angeles CA 90006
  4         3.    Caterpillar (Washington)
  5               100 N.E. Adams Sreet
                  Peoria, IL 61629-9600
  6
  7               Caterpillar (California)
                  5924 Santa Elena Drive
  8               Arvin, CA 93203
  9         4.    Gerrads
 10               705 W. Cypress Ave.
                  Redlands, CA 92373
 11
 12         5.    Home Depot
                  3171 W Olympic Boulevard
 13               Suite 553
                  Los Angeles, CA 90006
 14
 15         6.    Bristol Farms
                  915 East 230th Street
 16               Carson, CA 90745
 17
            7.    NBC Studios
 18               3171 W. Olympic Boulevard
                  Suite 553
 19
                  Los Angeles, CA 90006
 20
            8.    Basha’s
 21               P.O Box 488
 22               Chandler, AZ 85244

 23         9.    Jewel
                  250 Parkcenter Blvd.
 24
                  Boise, ID 83706
 25
            10.   Raleys
 26               P.O. Box 15618
 27               Sacramento, CA 95852

 28
                                              3
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  1         11.   LaFrack
  2               Realty Operations Group
                  P.O Box 2010
  3               Hazelton, PA 18201-0676
  4         12.   SDI
  5               1910 S. Stapley Dr.
                  Ste. 221
  6               Mesa, AZ 85204
  7
            13.   US Maintenance – US Bank
  8               1700 Markley Street
                  Ste. 100
  9               Norristown, PA 19401
 10
            14.   US Maintenance
 11               1700 Markley Street
 12               Ste. 100
                  Norristown, PA 19401
 13
            15.   Vons
 14
                  250 Parkcenter Blvd.
 15               Boise, ID 83706
 16         16.   Albertsons
 17               250 Parkcenter Blvd.
                  Boise, ID 83706
 18
            17.   Planet Fitness
 19
                  1372 N. McDowell Blvd.
 20               Suite D
                  Petaluma, CA 94954
 21
 22
            D.    Other Executory Contracts
 23
            1.    Topsource, LLC
 24
                  150 Northwest Point Blvd.
 25               Elk Grove, IL 60007
                  Incentive Rebate Agreement and Amendment
 26
 27   ...

 28   ...
                                              4
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  1         2.    US Metro Group
  2               3171 W. Olympic Blvd.
                  Suite 553
  3               Los Angeles, CA 90006
                  Subcontract Service Agreement
  4
  5         3.    Bank Direct
                  Two Conway Park
  6               150 North Field Drive
  7               Ste. 190
                  Lake Forest, IL 60045
  8               Financing of Insurance Premiums
  9         4.    Marsh USA, Inc.
 10               1717 Arch Street
                  Ste. 1100
 11               Philadelphia, PA 19103
 12               Insurance Marketing and Placement Consulting Services

 13
            DATED AND SIGNED ABOVE.
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